Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                     Recorded Deed of Trust Page 1 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                     Recorded Deed of Trust Page 2 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                     Recorded Deed of Trust Page 3 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                     Recorded Deed of Trust Page 4 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                     Recorded Deed of Trust Page 5 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                     Recorded Deed of Trust Page 6 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                     Recorded Deed of Trust Page 7 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                     Recorded Deed of Trust Page 8 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                     Recorded Deed of Trust Page 9 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                    Recorded Deed of Trust Page 10 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                    Recorded Deed of Trust Page 11 of 12
Case 19-31673-KLP   Doc 10-4 Filed 04/12/19 Entered 04/12/19 14:20:03   Desc
                    Recorded Deed of Trust Page 12 of 12
